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MINUTE ENTRY
FALLON, J.
MAY 7, 2020

                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



ADRIAN CALISTE ET AL                                                         CIVIL ACTION

VERSUS                                                                       NO. 17-6197

HARRY E. CANTRELL                                                            SECTION "L" (5)



       A telephone status conference was held on this date in the Chambers of the Honorable

Eldon E. Fallon. Eric Foley participated on behalf of Plaintiffs. Dennis Phayer participated on

behalf of Defendant Harry Cantrell. The parties discussed the status of the case and reported that

the parties intend to address the additional discovery ordered by the Court by the end of the month.




 JS10(00:03)
